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                                   7                                     UNITED STATES DISTRICT COURT

                                   8                                    NORTHERN DISTRICT OF CALIFORNIA

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                                         ANIBAL RODRIGUEZ, et al.,
                                  10                                                        Case No. 20-cv-04688-RS
                                                          Plaintiffs,
                                  11
                                                 v.                                         ORDER ON PLAINTIFFS’
                                  12                                                        EMERGENCY MOTIONS FOR
Northern District of California
 United States District Court




                                         GOOGLE LLC,                                        RELIEF FROM CASE SCHEDULE
                                  13                                                        (DKTS. NO. 279 & 280)
                                                          Defendant.
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                                  16          Unable to secure a stipulation to extend the deadline for submitting opening expert reports,

                                  17   Plaintiffs move once more for relief from the case management schedule, seeking extensions of

                                  18   one to two months on all deadlines related to expert witnesses and class certification. This is a

                                  19   necessity, Plaintiffs lament, born of Defendant’s various discovery delinquencies, which make it

                                  20   challenging for Plaintiffs’ experts to prepare their opening reports by the current January 20, 2023

                                  21   deadline. Yet under the customary deadlines, Plaintiffs’ eleventh hour motion would be heard on

                                  22   January 26, 2023, six days too late to be Plaintiffs’ saving grace. Disgruntled with the reality they

                                  23   face, and determined to both repay Defendant and also gift the Court with the spirit of “Holidays

                                  24   for me, but not for thee,” Dkt 280 at 2, Plaintiffs also filed their motion for an expedited schedule

                                  25   for deciding the motion, demanding that Defendant file its opposition in 6 days (on December 28,

                                  26   2022), that Plaintiffs reply on January 2, 2023 (a Court holiday), and that the hearing occur on

                                  27   January 5, 2023.

                                  28          Plaintiffs’ demands are manifestly unreasonable, and the motion to shorten the time for the
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                                   1   briefing schedule and hearing is summarily denied. In the spirit of giving, however, the Court will

                                   2   extend the deadline for submitting opening expert reports by a month—to February 20, 2023—to

                                   3   both provide sufficient time for the Parties adequately to brief Plaintiffs’ motion for relief from the

                                   4   case management schedule and preserve the current case schedule as much as possible. All other

                                   5   dates in the schedule are to remain unchanged.

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                                   7   IT IS SO ORDERED.

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                                   9   Dated: December 23, 2022

                                  10                                                    ______________________________________
                                                                                        RICHARD SEEBORG
                                  11                                                    Chief United States District Judge
                                  12
Northern District of California
 United States District Court




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                                                                                     ORDER ON PLAINTIFFS’ EMERGENCY MOTIONS FOR RELIEF FROM
                                  28                                                                       CASE SCHEDULE (DKTS. NO. 279 & 280)
                                                                                                                   CASE NO. 20-cv-04688-RS
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